


  OrpER AFFIRMING THE JUDGMENT AND SENTENCE or tas District CoURT
 

  [T1] This matter came before the Court upon its own motion following notification that appellant has failed to file a pro se brief within the time allotted by this Court. Appellant pled guilty to delivery of methamphetamine, accessory to the delivery of methamphetamine, and child endangering. On June 28, 1010, appellant's court-appointed appellate counsel filed a "Motion to Withdraw as Counsel," pursuant to Anders v. California, 386 U.S. 738, 744, 87 S.Ct. 1896, 1400, 18 L.Ed.2d 493 (1967). Following a careful review of the record and the "Anders briefs" submitted by counsel, this Court entered, on July 13, 2010, its "Order Granting Permission for Court Appointed Counsel to Withdraw." That Order provided that the District Court's March 3, 2010 "Judgment and Sentence" would be affirmed unless, on or before August 27, 2010, the appellant filed a brief that persuaded this Court that the captioned appeal is not wholly frivolous. Taking notice that the appellant, Tammy Lynn Ramos, has failed to file a brief or other plead ing within the time allotted, the Court finds that the district court's "Judgment and Sentence" should be affirmed. It is, therefore,
 

  [¶ 2] ORDERED that the District Court's March 3, 2010 "Judgment and Sentence" be, and the same hereby is, affirmed.
 

  [¶ 3] DATED this 8th day of September, 2010.
 

  BY THE COURT:
 

  /s) Marilyn S. Kite
 

  MARILYN S. KITE Chief Justice.
 
